Case 1:19-cv-00133-LPS          Document 3      Filed 02/12/19      Page 1 of 1 PageID #: 24


                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE
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 ELAINE WANG,                                             :
                                                          :
                   Plaintiff,                             : Case No. 1:19-cv-00133-LPS
                                                          :
 v.                                                       :
                                                          : COMPLAINT FOR VIOLATIONS
 LOXO ONCOLOGY, INC., JOSHUA H.                           : OF SECTIONS 14(e), 14(d) AND 20(a)
 BILENKER, M.D., STEVE ELMS, KEITH                        : OF THE SECURITIES EXCHANGE
 T. FLAHERTY, M.D., ALAN FUHRMAN,                         : ACT OF 1934
 STEVE D. HARR, M.D., LORI A. KUNKEL, :
 M.D., TIM MAYLEBEN, and AVI Z.                           : JURY TRIAL DEMANDED
 NAIDER,                                                  :
                                                          :
                   Defendants.                            :
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                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff Elaine

Wang (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the “Action”) with

prejudice as to the Plaintiff only. Defendants have filed neither an answer nor a motion for

summary judgment in the Action, and no class has been certified.

 Dated: February 12, 2019                        RIGRODSKY & LONG, P.A.

                                           By: /s/ Brian D. Long
                                               Brian D. Long (#4347)
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